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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES

 Date: January 20, 2023              Time: 11:16 – 11:17           Judge: SUSAN ILLSTON
                                     1 Minute
 Case No.: 21-cv-02018-SI            Case Name: Flesch v. County of Lake

Attorney for Plaintiff: Alan Reinach
Attorney for Defendant: Jenny D. Baysinger

 Deputy Clerk: Esther Chung                           Court Reporter: Zoom Recording

                                       PROCEEDINGS

Status Conference – held via Zoom webinar.

                                         SUMMARY

The parties confirmed that settlement funds have been received. The parties are waiting for the
checks to clear and then will file the Dismissal for the case. The Court set a further Status
Conference in case the Dismissals are not filed within the one week.

CASE CONTINUED: 1/27/2023 at 3:00 PM for Further Status Conference by Zoom
webinar.
